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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:13-MJ-291 CKD

12                                Plaintiff,            STIPULATION REGARDING STATUS
                                                        CONFERENCE; [PROPOSED] ORDER
13                          v.

14   MEGAN REAP,

15                                Defendant.

16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant Megan

19 Reap, by and through her counsel of record, hereby stipulate as follows:

20          1.      The defendant was arrested pursuant to a criminal complaint and arrest warrant signed by

21 the Honorable Allison Claire of the Eastern District of California. The defendant appeared before a

22 magistrate judge in the Western District of Virginia on September 19, 2013. The defendant was released

23 on conditions and ordered to appear in this court on September 30, 2013.

24          2.      The parties have consulted and agree the September 30, 2013 status date should be

25 vacated. There is no arraignment or preliminary examination set for that date, and neither party is

26 seeking to modify the conditions of release. Accordingly, the parties stipulate to vacating the September

27 30, 2013 status date as to defendant Megan Reap and ask that the Court enter an order to that effect.

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      STIPULATION REGARDING STATUS CONFERENCE;          1
      [PROPOSED] ORDER
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              Case 2:13-mj-00291-KJN Document 8 Filed 09/27/13 Page 2 of 2


 1 Dated: September 26, 2013                            BENJAMIN B. WAGNER
                                                        United States Attorney
 2

 3                                                      /s/ MICHELE BECKWITH
                                                        MICHELE BECKWITH
 4                                                      Assistant United States Attorney

 5
     Dated: September 26, 2013                          /s/ SCOTT L. TEDMON
 6                                                      SCOTT L. TEDMON
                                                        Attorney for Defendant Megan Reap
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11                                 [PROPOSED] FINDINGS AND ORDER
12

13         IT IS SO FOUND AND ORDERED
14 Dated: September 27, 2013

15                                               _____________________________________
16                                               CAROLYN K. DELANEY
                                                 UNITED STATES MAGISTRATE JUDGE
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      STIPULATION REGARDING STATUS CONFERENCE;      2
      [PROPOSED] ORDER
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